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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
________________________________________

DAVID CALDWELL,

                     Plaintiff,
        v.                                                     9:19-CV-673

C.O. KUSMINSKY, et al.,

                Defendants.
_________________________________________

THOMAS J. McAVOY,
Senior United States District Judge



                                  DECISION and ORDER

I.      INTRODUCTION

        This pro se action brought pursuant to 42 U.S.C. § 1983 was referred to the Hon.

Andrew T. Baxter, United States Magistrate Judge, for a Report and Recommendation

pursuant to 28 U.S.C. § 636(b) and Local Rule 72.3(c). Presently before the court is

defendant Corrections Officer (“C.O.”) Kusminsky’s motion for summary judgment

pursuant to Fed. R. Civ. P. 56. (Dkt. No. 14). C.O. Kusminsky filed the instant summary

judgment motion in lieu of answering the complaint, contending that plaintiff failed to

exhaust his administrative remedies. In his April 1, 2020 Report-Recommendation (Dkt.

No. 22), Magistrate Judge Baxter recommends that C.O. Kusminsky’s motion for summary

judgment be denied without prejudice to renewal after the parties have had an opportunity

to conduct discovery. No objections to the Report-Recommendation have been filed, and

the time to do so has expired.

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II.      DISCUSSION

         After examining the record, this Court has determined that the Report-

Recommendation is not subject to attack for plain error or manifest injustice.

III.     CONCLUSION

         Accordingly, the Court ACCEPTS and ADOPTS the Report-Recommendation (Dkt.

No. 22) for the reasons stated therein. Defendant Kusminsky’s motion for summary

judgment (Dkt. No. 14) is DENIED WITHOUT PREJUDICE to renewal after the parties

have had an opportunity to conduct discovery.

IT IS SO ORDERED.

Dated:October 20, 2020




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